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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :      Crim. No. 21-cr-00032 (DLF)
                                             :
               v.                            :
                                             :
GUY WESLEY REFFITT,                          :
                                             :
                      Defendant.             :

           NOTICE OF LETTER ALLEGEDLY WRITTEN BY DEFENDANT

       On May 11, 2021, ProPublica published an article titled In Exclusive Jailhouse Letter,

Capitol Riot Defendant Explains Motives, Remains Boastful.1 According to the article, Defendant

Guy Reffitt wrote a letter on behalf of detained Capitol Riot defendants calling themselves “the

1/6ers.” The government obtained a copy of the letter, which is attached as Exhibit 2.


                                             Respectfully submitted,

                                             CHANNING D. PHILLIPS
                                             Acting United States Attorney
                                             DC Bar No. 415793

                                         By:_______________________________________
                                            Jeffrey S. Nestler
                                            Assistant United States Attorney
                                            D.C. Bar No. 978296
                                            Risa Berkower
                                            Assistant United States Attorney
                                            NY Bar No. 4536538
                                            U.S. Attorney’s Office for the District of Columbia
                                            555 4th Street, N.W.
                                            Washington, D.C. 20530
                                            Phone: 202-252-7277
                                            Email: Jeffrey.Nestler@usdoj.gov



1
 The article was published at https://www.propublica.org/article/in-exclusive-jailhouse-letter-
capital-riot-defendant-explains-motives-remains-boastful. A copy of the article is attached as
Exhibit 1.
